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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA

 IN RE: ROUNDUP PRODUCTS LIABILITY             MDL Docket No. 2741
 LITIGATION

                                               Case No. 3:16-MD-2741-VC


 This Document relates to:
                                               The Honorable Judge Vince Chhabria
 Meghan Caruso, et al. v. Russo Hardware, et
                                               NOTICE OF MOTION AND
 al.
                                               PLAINTIFF’S MOTION FOR
 USDC – NDIL No. 1:19-cv-7121                  LEAVE TO FILE A THIRD
                                               AMENDED COMPLAINT AT LAW
 USDC – NDCA No. 3:20-cv-01017-VC
                                               Hearing Date: Thursday, May 28,
                                               2020 at 1000 a.m.




              NOTICE OF MOTION AND PLAINTIFF’S MOTION FOR LEAVE TO FILE A
                              THIRD AMENDED COMPLAINT
                            3:20-CV-01017-VC; 3:16-MD-2741-VC
       Case 3:16-md-02741-VC Document 10495 Filed 04/17/20 Page 2 of 4




TO ALL DEFENDANTS AND THEIR ATTORNEYS OF RECORD:
       PLEASE TAKE NOTICE that on Thursday, May 28, 2020 at 10:00 a.m. or as soon as

this matter may be heard in Courtroom 4 of the United States District Court, Northern District of

California, located at 450 Golden Gate Avenue, San Francisco California, 94102, Plaintiff will and

hereby does respectfully move this Court for an order granting her leave to file a Third Amended

Complaint at Law to add three additional Defendants in this matter: (1) Home Depot, Inc.; (2)

Menard, Inc.; and (3) Archer Pines Landscaping, Inc.

       Plaintiff’s Motion is based on this Notice and Motion, the accompanying Memorandum of

Points and Authorities, and exhibits appended thereto, and any additional argument or evidence

this Honorable Court may consider.

Date: April 17, 2020                                /s/ Bryce T. Hensley
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                               CERTIFICATE OF SERVICE

       I, Bryce T. Hensley, Counsel for Plaintiff, hereby certify that on April 17, 2020, I

electronically filed the foregoing and accompanying documents with the Clerk of the Court using

the CM/ECF System, which sends notification of such filing to the following CM/ECF participants

and counsel of record. Further, for those that are not CM/ECF participants, Notice shall be sent

via email with the foregoing and accompanying documents attached:

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Date: April 17, 2020                                /s/ Bryce T. Hensley
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